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 1                                                        The Honorable Marsha J. Pechman

 2

 3
                               UNITED STATES DISTRICT COURT
 4

 5                          WESTERN DISTRICT OF WASHINGTON

 6                                        AT SEATTLE

 7

 8   KYKO GLOBAL, INC., a Canadian
     corporation, and KYKO GLOBAL GMBH, a
 9                                                 Case No. 2:13-CV-1034 MJP
     Bahamian corporation,
10
                            Plaintiffs,            PLAINTIFFS’ RESPONSE TO
11                                                 DEFENDANTS’ MOTION TO
     v.                                            DISQUALIFY
12
     PRITHVI INFORMATION SOLUTIONS,
13   LTD., a Pennsylvania corporation, PRITHVI
     CATALYTIC, INC., a Delaware corporation,      NOTE ON MOTION CALENDAR:
14   PRITHVI SOLUTIONS, INC., a Delaware           JUNE 6, 2014

15   corporation, PRITHVI INFORMATION
     SOLUTIONS INTERNATIONAL, LLC, a               ORAL ARGUMENT REQUESTED
16   Pennsylvania limited liability company,
     INALYTIX, INC., a Nevada corporation,
17   INTERNATIONAL BUSINESS
     SOLUTIONS, INC., a North Carolina,
18   corporation, AVANI INVESTMENTS, INC., a
19   Delaware corporation, ANANYA CAPITAL
     INC., a Delaware corporation, MADHAVI
20   VUPPALAPATI AND ANANDHAN
     JAGARAMAN, husband and wife and the
21   marital community composed thereof, GURU
     PANDYAR AND JANE DOE PANDYAR,
22   husband and wife and the marital community
23   composed thereof, and SRINIVAS SISTA
     AND JOHN DOE SISTA, husband and wife
24   and the marital community composed thereof,
     DCGS, INC., a Pennsylvania company, EPP,
25   INC., a Washington corporation, FINANCIAL
     OXYGEN, INC., a Washington corporation,
26
     HUAWEI LATIN AMERICAN SOLUTIONS,

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     INC., a Florida corporation, L3C, INC., a
 1   Washington corporation.
 2                                 Defendants.
                                       I.       REQUEST FOR RELIEF
 3
             Defendants’ Motion to Disqualify Counsel in the above-captioned case is the latest effort
 4
     by Defendants to derail both the upcoming trial date of July 7, 2014, as well as Plaintiffs’
 5
     ongoing and legitimate efforts by law to pursue any and all funds or assets available to satisfy the
 6
     Judgment already entered in this case, now in excess of $18 million. (Dkt. No. 116).1 This Court
 7
     should deny the present motion to disqualify as a groundless attempt to continue to avoid
 8
     Defendants’ financial responsibilities arising out of the fraudulent scheme that is squarely at
 9
     issue in this litigation. Plaintiffs Kyko Global, Inc. and Kyko Global GMBH (hereafter “Kyko”
10
     or “Plaintiffs”) have timely brought the issue of communications with Defendants’ counsel and
11
     their lawyers to the Court -- less than three business days from learning of the issue. Plaintiffs
12
     have limited the flow of information from the computer to Plaintiffs’ attorneys until this Court
13
     has the chance to rule on the issue of admissibility and waiver.
14
             Finally, the Court should award Plaintiffs their reasonable attorneys’ fees in responding
15
     to yet another ill-conceived and dilatory motion in these proceedings.2
16
                                     II.      EVIDENCE RELIED UPON
17
             Plaintiffs rely on the declarations of Keith A. Pitt (Dkt. No. 183), Christina Haring-
18
     Larson (Dkt. No. 185), James Yand (Dkt. No. 184), Tom Warren (Dkt. No. 187), Ajit Guttikonda
19
     (Dkt. No. 186), and Kiran Kulkarni, the exhibits attached thereto, and the record and file herein.
20

21
             1
              This misplaced Motion to Disqualify is in direct response to Plaintiffs’ pending motion
22   regarding the admissibility of certain materials/documents located on the personal computer of defendant
     Madhavi Vuppalapati (the “Madhavi Computer”), which computer was recently purchased by Plaintiffs at
23   public auction on April 24, 2014. (Dkt No. 163). Accordingly, these two matters should be addressed
     and resolved by the Court at the same time.
24
             2
              See LCR 11(c) (“An attorney . . . . who presents to the court unnecessary motions or
25
     unwarranted opposition to motions, . . . . or who otherwise so multiplies or obstructs the proceedings in a
26   case may . . . . be required by the court to satisfy personally such excess costs and may be subject to such
     other sanctions as the court may deem appropriate.”).


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 1                                       III.    LEGAL ANALYSIS

 2            Defendants’ Motion to Disqualify is, at its base, predicated on: (1) a flawed recitation of

 3   the factual and legal basis by which Plaintiffs lawfully took possession of the subject computer,

 4   under the applicable procedures set forth in RCW 6.21 et seq. for the sale of a judgment debtor’s

 5   assets, (2) a misplaced reliance on the outdated case of Richards v. Jain, 168 F.Supp.2d 1195,

 6   1201 (W.D.Wash.2001), which was based on a now-withdrawn ABA ethics opinion and does not

 7   address the current provisions of RPC 4.4(b) or inform the obligations of counsel under the facts

 8   and circumstances presented here, and (3) a flawed invocation of a 2012 Washington ethics

 9   opinion, which examined the interplay between RPC 4.4(a) and 8.4(d), and the narrow inquiry

10   regarding the intentional use of “special forensic software designed to circumvent metadata

11   removal tools” in order to capture otherwise “privileged” information embedded within a

12   document exchanged among counsel.

13            Defendants efforts to misconstrue and extort the factual record before the Court is a

14   desperate attempt to avoid what cannot be denied – Defendants’ waived any rights or claim of

15   privilege to the contents of the computer by failing to object when they first learned of the

16   sheriff’s sale of the computer back in February 2014. After receiving notice of the sale and an

17   opportunity to object, Defendants allowed the sheriff’s sale to go forward on April 24, 2014.

18            A.      Standard of Review.

19            Motions to disqualify counsel – often bare tactics to gain an advantage in litigation – are

20   viewed with skepticism and subject to exacting scrutiny. FMC Technologies, Inc. v. Edwards,

21   420 F. Supp. 2d 1153, 1157 (W.D. Wash. 2006) (“The Court acknowledges at the outset that

22   disqualification is a drastic measure and that it must consider the danger of a motion to disqualify

23   opposing counsel as a litigation tactic.”); Silva v. Gregoire, 2007 WL 1046888 (W.D. Wash.

24   2007) (“Because of the potential for abuse, disqualification motions should be subjected to

25   ‘particularly strict judicial scrutiny.’”) (citations omitted) (emphasis added).3

26      3
            See also Richards v. Jain, 168 F.Supp.2d 1195, 1200 (W.D.Wash. 2001) (“In general,


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 1           Furthermore, “[f]or a sanction to be validly imposed, the conduct in question must be

 2   sanctionable under the authority relied on.” Cunningham v. County of Los Angeles, 879 F.2d

 3   481, 490 (9th Cir.1988) (internal quotations omitted), cert. denied, 493 U.S. 1035, 110 S.Ct. 757,

 4   107 L.Ed.2d 773 (1990). A cursory review of the undisputed facts and applicable law reveals

 5   that Defendants’ Motion to Disqualify is entirely without merit. As detailed below, there is

 6   absolutely no factual or legal support for the proposition that Plaintiffs’ counsel violated any

 7   ethical rules or other similar standards of conduct in the case at bar.

 8           B.      Plaintiffs Lawfully Obtained the Computer As Part of the Post-Judgment
                     Collection Process.
 9
             The undisputed facts surrounding Plaintiffs’ lawful acquisition of the Madhavi Computer,
10
     pursuant to RCW 6.21 et seq., is set forth in Plaintiffs’ briefing submitted in connection with
11
     their pending Motion to Determine Admissibility on this same subject matter, (Dkt Nos. 163 &
12
     182), which are incorporated by reference.
13
             Plaintiffs’ counsel have sought the Court’s ruling on the Computer, but the Madhavi
14
     Computer itself has never been in the hands of Plaintiffs’ counsel. As detailed in the declaration
15
     of Kiran Kulkarni, “all decisions regarding the transport, chain of custody, and review of the
16
     Madhavi Computer were made by Plaintiffs alone.” (Kulkarni Dec., ¶ 4). Further, as any
17
     forensic analysis of the computer that has occurred to date, has been conducted by Net-Patrol
18
     International Inc. (“NPI”), a third party, independent private investigation company, also an
19
     entity engaged by Plaintiffs alone. (Kulkarni Dec., ¶ 3). Moreover, although not required to do
20
     so under the Washington RPC’s, as a matter of professional practice, the undersigned have
21
     avoided reviewing materials that are arguably subject to the attorney-client privilege, pending
22
     resolution of these motions. (Haring-Larson Dec., ¶ 3; Pitt Dec., ¶ 3).
23
             Second, as this Court is aware, this litigation involves a massive fraud whereby Madhavi
24

25
     disqualification is viewed as a ‘drastic remedy that exacts a harsh penalty from the parties as well as
26   punishing counsel; therefore it should be imposed only when absolutely necessary.’”) (emphasis
     supplied; internal citations omitted).


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 1   Vuppalapati, along with her co-defendants, took in excess of $18,000,000, from Plaintiffs, which

 2   sum has already been reduced to judgment against certain parties based on Confessions of

 3   Judgment. Defendant Madhavi, who admits she and her related entities failed to pay Kyko in

 4   excess of $18 million, and who, in connection with an unsatisfied judgment, had her home

 5   computer sold, at public auction, should receive scant consideration from this Court. It belies all

 6   common sense and credulity for Defendants to claim unfair surprise surrounding Plaintiffs

 7   election to purchase one or more of Ms. Vuppalapti’s personal items at the public auction,

 8   especially after notice and an opportunity to object were provided months ago.4

 9           Third, Defendants’ continuing refrain and assertion that Plaintiffs are somehow

10   improperly seeking to conduct “discovery” outside the terms of the Scheduling Order is a clear

11   attempt to misdirect the Court’s attention from what is truly occurring as part of the post-

12   judgment collection process in this litigation.5 Simply stated, when accessing the available legal

13   processes and pursuing the trail of evidence related to potential assets arising out of a massive

14   fraud, and where the responsible parties continue to seek to shelter/divert those same assets from

15   execution, it should come as no surprise that facts and evidence pertaining to the underlying

16

17
         4
18         Nor should the Court give any credibility to the declaration of Ms. Vuppalapati submitted in support
     of Defendants’ Motion to Disqualify in this matter. For example, in that declaration Ms. Vuppalapti
19   asserts she was “astounded” to see a non-privileged document, which she presumes came from her home
     computer, was submitted in connection with her Rule 2004 Examination that occurred on May 15, 2014
20   as part of the separate bankruptcy proceeding in Pennsylvania. (Madhavi Dec., ¶¶ 5-6). During that May
     15, 2014 examination of Ms. Vuppalapati she invoked the Fifth Amendment to the United States
21   Constitution numerous times. (Kulkarni Dec., ¶¶ 15, 21). As such, both Ms. Vuppalapti’s veracity, as
     well as the accuracy of her declaration, on any of these subjects, should be viewed with extreme
22   skepticism.

23       5
            Although the Court denied Plaintiffs’ Motion to Modify the Scheduling Order, (Dkt. No. 150),
     there is, respectfully, no disputing that Defendants themselves had previously “agreed” to seek such a
24   modification (and, indeed, also desired to extend the trial date to December 2014, a month longer than
     initially proposed by Plaintiffs), including the discovery schedule, only to renege on that agreement at the
25   eleventh hour. (Dkt. No. 135). Similarly, this present motion is reflective of these altogether transparent
     tactics to avoid a trial, on its merits, and based on a full record.
26


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 1   fraud will naturally emerge.6

 2            Notwithstanding the above, Defendants’ unsupported allegations of impropriety (i.e., the

 3   “hacking” into the computer) and other mischaracterizations, and which Defendants seek to

 4   attribute to Plaintiffs’ counsel, are not supported by the record, common sense, or the law.

 5   C.       Plaintiffs’ Attorneys Have Not Violated the Washington Rules of Professional
              Conduct or Other Provisions of Law.
 6

 7            1.     Defendants’ Reliance on Richards v. Jain is Misplaced and Inapplicable to the
                     Matters Now Under Review.
 8
              Defendants’ reliance on Richards v. Jain, 168 F.Supp.2d 1195 (W.D. Wash. 2001) is
 9
     misplaced. First, the Richards court confronted a situation where the vice president of a company
10
     – with access to the company’s entire email and database – provided a copy of over 100,000
11
     emails to his attorneys prior to initiating litigation against the company. Further, the vice
12
     president was also subject to a non-disclosure agreement. Upon receiving the database, over an
13
     18-month period of time, a paralegal at the law firm and at least one attorney reviewed thousands
14
     of emails, some of which included communications between the company and its attorneys.
15
              In disqualifying the law firm from the case, the Court made the following observations:
16
                     An attorney who receives privileged documents has an ethical duty upon notice of
17                   the privileged nature of the documents to cease review of the documents, notify
                     the privilege holder, and return the documents. See ABA Comm. on Ethics and
18
                     Professional Responsibility, Formal Op. 94–382 (1994). A failure by an attorney
19                   to abide by these rules is grounds for disqualification.

20   Id. at 1200-1201 (emphasis supplied)

21                   This is not a case of inadvertent disclosure during the normal discovery process
                     that could potentially constitute a waiver of privilege. Defendants did not provide
22                   any of the contested documents to Plaintiffs.
23   Id. at 1208.
24
          6
           “It is not only by dint of lying to others, but also of lying to ourselves, that we cease to
25
     notice that we are lying.”― Marcel Proust, Sodom and Gomorrah. Indeed, it is the lament of
26   those who would defraud, unable to maintain the façade or forward the lines of deceit in perpetuity, that
     the scheme and its constituents shall eventually become undone.


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 1          Three matters bear noting. First, the facts/circumstances in the case bar – the lawful

 2   purchasing of a computer at public auction – are entirely distinct from a vice president who

 3   obtains the company’s entire electronic database that includes privileged materials, and

 4   thereafter provides it to his attorneys for use in future litigation against that company. Second,

 5   the court explicitly notes the matter did not involve a potential “waiver” of the privilege that, of

 6   course, is squarely at issue in this case. Third, and most importantly, the Richards court

 7   analyzed the issue under a former version of the ethical rules, citing the 1994 opinion of the

 8   ABA, Formal Op. 94–382 (1994).

 9          The current version of RPC 4.4(b) provides, in relevant part:

10                  (a) In representing a client, a lawyer shall not use means that have no substantial
11                  purpose other than to embarrass, delay, or burden a third person, or use methods
                    of obtaining evidence that violate the legal rights of such a person.
12
                    (b) A lawyer who receives a document relating to the representation of the
13                  lawyer's client and knows or reasonably should know that the document was
                    inadvertently sent shall promptly notify the sender.
14
     (emphasis supplied)
15
            The Comments to the above rules state:
16

17                  Paragraph (b) recognizes that lawyers sometimes receive documents that were
                    mistakenly sent or produced by opposing parties or their lawyers. If a lawyer
18                  knows or reasonably should know that such a document was sent inadvertently,
                    then this Rule requires the lawyer to promptly notify the sender in order to permit
19                  that person to take protective measures. Whether the lawyer is required to take
                    additional steps, such as returning the original document, is a matter of law
20
                    beyond the scope of these Rules, as is the question of whether the privileged
21                  status of a document has been waived.

22                  Some lawyers may choose to return a document unread, for example, when the
                    lawyer learns before receiving the document that it was inadvertently sent to the
23                  wrong address. Where a lawyer is not required by applicable law to do so, the
                    decision to voluntarily return such a document is a matter of professional
24
                    judgment ordinarily reserved to the lawyer.
25   (emphasis supplied). Indeed, the 2012 Washington Advisory Opinion 2216 relied on by
26   Defendants (interpreting RPC 4.4(b)) unequivocally states: “Under the ethical rules, Lawyer B is


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 1   not required to refrain from reading the document, nor is Lawyer B required to return the

 2   document to Lawyer *** If Lawyer B is not under such a separate legal duty, the “decision to

 3   voluntarily return such a document is a matter of professional judgment ordinarily reserved to

 4   the lawyer[,]” in consultation with the client.”) (emphasis supplied)

 5           Here, in filing Plaintiffs’ underlying motion, none of Plaintiffs’ attorneys in this case

 6   reviewed privileged documents, and the computer itself has at all times has remained in the

 7   custody of NPI in New York State or Kyko itself. RPC 4.4(b) was not implicated under the facts

 8   presented until documents were produced from the computer to Plaintiffs’ counsel.7

 9   Nevertheless, Plaintiffs’ counsel have avoided reviewing further documents from the computer

10   until the Court has an opportunity to rule on the Motion to determine admissibility and privilege

11   issues. Within three judicial days of learning of this matter, Plaintiffs placed the inquiry before

12   the Court for review.

13           Moreover, the present version of RPC 4.4 does not, as contended by opposing counsel,

14   require the “return” of the computer, or any of the documents it may contain, whether privileged

15   or otherwise. On this point, it should be noted that ABA Formal Op. 94–382 (1994), upon which

16   the Richard’s court relied, has been withdrawn in favor of the current version of the rules. In Mt.

17   Hawley Ins. Co. v. Felman Production, Inc., 271 F.R.D. 125, 130-131 (S.D.W.Va.,2010), United

18   States District Court for West Virginia explained:

19                   In Richards v. Jain, 168 F.Supp.2d 1195, 1201 (W.D.Wash.2001), the court
20                   discussed the ethical duties of attorneys and paralegals who receive inadvertently
                     produced privileged documents and cited to the Committee’s Formal Opinion 94–
21                   382 (1994).

22                   Formal Opinion 92–368 was withdrawn on October 1, 2005 in the Committee's
                     Formal Opinion 05–437, “Inadvertent Disclosure of Confidential Materials.” In
23

24       7
           See ABA Formal Opinion 06-440 (“It further is our opinion that if the providing of the materials is
     not the result of the sender’s inadvertence, Rule 4.4(b) does not apply to the factual situation addressed
25
     in Formal Opinion 94-382. A lawyer receiving materials under such circumstances is therefore not
26   required to notify another party or that party’s lawyer of receipt as a matter of compliance with the
     Model Rules.”) (emphasis supplied).


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                     Opinion 05–437, the Committee noted that it must look to Model Rule of
 1                   Professional Conduct 4.4(b), which reads: “A lawyer who receives a document
 2                   relating to the representation of the lawyer's client and knows or reasonably
                     should know that the document was inadvertently sent shall promptly notify the
 3                   sender.” Opinion 05–437 provides as follows:

 4                            A lawyer who receives a document from opposing parties or their lawyers
                              and knows or reasonably should know that the document was
 5                            inadvertently sent should promptly notify the sender in order to permit the
 6                            sender to take protective measures.

 7                            The Committee noted that Rule 4.4(b) “does not require the receiving
                              lawyer either to refrain from examining the materials or to abide by the
 8                            instructions of the sending lawyer.”
 9
                     Formal Opinion 94–382 was withdrawn on May 13, 2006 in the Committee's
10                   Formal Opinion 06–440, “Unsolicited Receipt of Privileged or Confidential
                     Materials.” Opinion 06–440 provides in pertinent part as follows:
11
                              The Rule does not require refraining from reviewing the materials or
12                            abiding by instructions of the sender.
13   (emphasis supplied)
14           What is clear from the above is that Defendants’ Motion to Disqualify is grounded on a

15   superseded and outdated application of the Washington rules of ethics and ABA opinions.

16   Specifically, the present version of RPC 4.4, as well as the applicable ABA formal opinions,

17   addressing both an “inadvertent” and “unsolicited” receipt of “privileged” materials do “not

18   require the receiving lawyer either to refrain from examining the materials or to abide by the

19   instructions of the sending lawyer.” Id. Having said that, as a matter of professional

20   courtesy/practice, none of the undersigned attorneys, or those at Miller Nash for that matter, have

21   sought to use the materials that Defendants are “privileged” or otherwise came from the Madhavi

22   Computer. Plaintiffs’ counsel is waiting for direction from the Court as to how to proceed after a

23   ruling on the Motion regarding Admissibility and Defendants’ Motion to Disqualify.8

24       8
           Defendants’ reliance on the opinion of the Matter of Firestorm 1991, 129 Wash.2d 130, 139-140,
     916 P.2d 411 (1996) is similarly misplaced. Firestorm does not reference any discussion of RPC 4.4
25
     whatsoever. And, the Firestorm case is legally and factually distinguishable because it concerned an
26   alleged ethical violation resulting from the ex parte contact with the opposing party’s expert, in violation
     of CR 26(b).


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 1   Accordingly, Plaintiffs have, without question, complied with both the letter and spirit of RPC

 2   4.4 in timely bringing this matter to the attention of the Court and Defendants’ counsel.

 3          2. RPC 4.4(a) is Inapplicable to Facts Presented.

 4          As a fall back position, Defendants seek to construct an alternate argument out of whole

 5   cloth, asserting without any factual basis whatsoever:

 6                  In addition to the issues of disqualification because of counsel’s exposure to
 7                  attorney-client information, counsel’s actions raise ethical concerns regarding the
                    use of forensic software to obtain information that would not be readily available
 8                  to the public.

 9   See Def. Mot., Pg. 7, lns. 14-16.

10          In support of this manufactured argument, Defendants rely on WSBA Advisory Opinion

11   2216 which provides, in relevant part:

12                  This opinion addresses certain ethical obligations related to the transmission and
                    receipt, in the course of a legal representation, of electronic documents containing
13                  “metadata.” Specifically, this opinion addresses: . . . . the ethical propriety of an
14                  attorney using special forensic software to recover – from another party’s
                    documents – metadata that is not otherwise readily accessible through standard
15                  word processing software.

16                  Illustrative Facts:

17                                                          ****
                    3.      Same facts as #1, except that Lawyer A makes reasonable efforts to
18                          “scrub” the document and thereby eliminates any readily accessible
                            metadata before sending the document to Lawyer B. Lawyer B possesses
19
                            special forensic software designed to circumvent metadata removal tools
20                          and recover metadata Lawyer A believes has been “scrubbed” from the
                            document. Lawyer B wants to use this software on Lawyer A’s document
21                          to determine if it contains any metadata that may be useful in
                            representing his own client.
22
            In analyzing this discrete fact pattern, the Committee made the following observations:
23
                            To the extent that efforts to mine metadata yield information that
24
                            intrudes on the attorney-client relationship, such efforts would also
25                          violate the public policy of preserving confidentiality as the foundation
                            of the attorney-client relationship. See RCW 5.60.060(2)(a), Dietz v.
26                          Doe, 131 Wn.2d 835, 842 (1997), and Comments 2 & 3 to RPC 1.6. As


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                            such, it is the opinion of this committee that the use of special software
 1                          to recover, from electronic documents, metadata that is not readily
 2                          accessible does violate the ethical rules.
            The above opinion is expressly limited to the specific fact pattern presented and does not
 3
     apply to the facts of this case.9 Here, counsel did not, as a factual matter, utilize anything
 4
     remotely akin to “special forensic software designed to circumvent metadata removal tools” to
 5
     capture otherwise “privileged” information “embedded within documents” exchanged among the
 6
     attorneys in this litigation. Nor is there any evidence that Plaintiffs’ counsel improperly directed
 7
     or controlled an analysis of the subject computer.
 8

 9          D.      The Computer Was Not Password Protected and A Third Party Vendor, Net
                    Patrol, Made a Copy That Was Sent Directly to Kyko.
10
            Defendants also claim in their Motion to Disqualify that the information on the computer
11
     was password protected. As detailed in the declarations attached to Plaintiffs’ motion to
12
     determine the admissibility these documents, and to the extent it is even relevant to the analysis
13
     at all, as a factual matter there were no passwords or other form of encryption preventing anyone
14
     who purchased the Madhavi Computer at public auction from viewing its contents, including the
15
     affected documents now at issue. Declaration of Tom Warren ¶ 4(d) (Dkt. No. 186); Declaration
16
     of Ajit Guttikonda, ¶ 6 (Dkt. No. 187).
17
            Finally, to the extent discrete documents are deemed admissible for purposes of this
18
     litigation, Plaintiffs have no objection to providing Defendants with a duplicate forensic clone of
19
     the hard drive of the Madhavi Computer, a computer that Plaintiffs now lawfully own.
20
                                             IV.     CONCLUSION
21
            The Court should deny Defendants’ Motion to Disqualify and conclude that no claim of
22
     privilege exists regarding the contents of the Madhavi Computer, which was sold to Kyko at
23
     public auction. Defendants’ delay tactics seek to sidetrack resolution of this matter at trial, on its
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     9
      See WSBA Advisory Opinion 2216 (“The Committee’s answer does not include or opine about any
25
     other applicable law than the meaning of the Rules of Professional Conduct. Advisory Opinions are
26   based upon facts of the inquiry as presented to the committee.”). Nor does this opinion purport to
     address how a “waiver” of the privilege, under the facts of this case, would alter the analysis.


     PAGE 11 – PLAINTIFFS’ RESPONSE TO DEFENDANTS’ MOTION                                       SLINDE NELSON STANFORD
               TO DISQUALIFY                                                                   601 Union Street, Suite 4400
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 1   merits, and without the full benefit of all relevant materials before jury. In addition, the Court

 2   should award Plaintiffs their reasonable attorneys’ fees in connection with this baseless motion,

 3   which is completely unsupported by the facts and law advanced by Defendants herein.

 4
            Dated this 2nd day of June 2014.
 5

 6                                                 SLINDE NELSON STANFORD
 7

 8                                                  By:     /s/ Keith Pitt
                                                          Keith Pitt, WSBA No. 40429
 9                                                        Christina Haring-Larson, WSBA No. 30121
                                                                 Of Attorneys for Plaintiffs
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     PAGE 12 – PLAINTIFFS’ RESPONSE TO DEFENDANTS’ MOTION                                      SLINDE NELSON STANFORD
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 1                                   CERTIFICATE OF SERVICE

 2          I hereby certify that I served the foregoing PLAINTIFFS’ RESPONSE TO

 3   DEFENDANTS’ MOTION TO DISQUALIFY on:

 4    Mark D. Kimball
      Mary K. Thurston
 5    MDK Law Associates
      777 108th Ave NE, Suite 2170
 6    Bellevue, WA 98004-5118
 7   by the following indicated method(s):
 8          by faxing full, true, and correct copies thereof to said attorney to the fax number noted
              above, which is the last known fax number for said attorney, on the date set forth
 9            below.
10          by emailing full, true, and correct copies thereof to said attorney to the email address
              noted above, which is the last known email address for said attorney, on the date set
11            forth below.
12          by notice of electronic filing using the CM/ECF system (LR 100.7(a)(2)).
13          by causing full, true and correct copies thereof to be mailed to the attorney(s) at the
            attorney(s) last-known office address(es) listed above on the date set forth below.
14

15

16          Dated this 2nd day of June 2014.

17                                               SLINDE NELSON STANFORD

18

19                                                By:   /s/ Keith Pitt
                                                     Keith Pitt, WSBA No. 40429
20                                                   Christina Haring-Larson, WSBA No. 30121
                                                        Of Attorneys for Plaintiffs
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     PAGE 13 – CERTIFICATE OF SERVICE                                                        SLINDE NELSON STANFORD
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